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 April 11, 2022

 VIA CM/ECF

 Hon. Robert B. Kugler
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets
 Camden, NJ 08101

                  Re:   In re Navient Corporation Securities Litigation
                        No. 1:17-cv-08373-RBK-AMD

 Dear Judge Kugler:

         The parties respectfully request that the in-person final approval hearing scheduled for
 tomorrow, April 12, 2022, at 3:00 p.m. be converted to a remote hearing whereby counsel can
 participate via telephonic or videoconference means.

        The undersigned anticipated attending tomorrow’s hearing on behalf of the Plaintiff.
 However, as of this morning, a member of his household tested positive for COVID-19. While the
 undersigned is vaccinated, asymptomatic, and testing negative currently, counsel for all parties
 believe that the prudent course of action would be to avoid appearing in-person for tomorrow’s
 hearing. Importantly, counsel for the parties did not receive any objections for the proposed
 settlement and are unaware of anyone other than themselves appearing for tomorrow’s hearing.

          The request to convert the hearing to remote means is being submitted on behalf of
 Plaintiff and Defendants and pursuant to the direction of Your Honor’s courtroom practices. If
 granted, counsel for Plaintiff would post the updated attendance protocol immediately to the
 settlement website in this action.



                                                      Respectfully,

                                                      Levi & Korsinsky LLP



                                              By:     s/ Adam M. Apton         .
                                                      Adam M. Apton
